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 9
                               UNITED STATES BANKRUPTCY COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11   In Re                                               Bankruptcy Case No.: 19-42763
12           DANIEL B. YOON,                             Adv. Proc. No.: 20-04021
             JEENEE S. YOON
13                                                       Chapter 11
     Debtor
14

15   DAN YOON,                                           DECLARATION OF ROSA SALCIDO
                                                         IN SUPPORT OF MOTION FOR
16                     Plaintiff,                        DEFENDANTS KS AVIATION, INC.,
                                                         XING KONG AVIATION SERVICE,
17   v.                                                  LLC, JOHN YOON, CHEN ZHAO AND
                                                         XIN HAN AVIATION, LLC’S MOTION
18   KS AVIATION, INC., XING KONG                        FOR PARTIAL SUMMARY
     AVIATION SERVICE, LLC, JOHN YOON,                   JUDGMENT
19   CHEN ZHAO, AND XIN HAN AVIATION,
     LLC,                                                Hearing: May 24, 2024
20                                                       Time:    11: 00 A.M.
                       Defendants.
21                                                       The Honorable Charles Novack
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   DECLARATION OF ROSA SALCIDO IN                                              CASE NO. 19-42763
   SUPPORT OF DEFENDANTS’ MOTION FOR                                      ADV. PROC. NO.: 20-04021
   PARTIAL
 Case:     SUMMARY
       20-04021     JUDGMENT
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 1          I, Rosa Salcido, declare as follows:
 2
            1.      I am employed by Xing Kong Aviation Service, LLC as the Director of the Finance
 3
     Department and Human Resources Manager. I make this declaration in support of Defendants’ Motion
 4
     for Partial Summary Judgment. This declaration is based upon my personal knowledge and if called
 5
     and sworn as a witness, I could and would competently testify thereto.
 6
            2.      I have worked in accounting for approximately 26 years and have experience in this
 7
     field through vocational training and employment as a bookkeeper at various businesses. I was
 8
     employed as bookkeeper for KS Aviation from May 13, 2013, through September 27, 2013, and again
 9
     from March 2017 through December 31, 2018. Since January 1, 2019, I have worked for Xing Kong
10
     Aviation Service, LLC.
11
            3.      Dan Yoon hired me in 2013 as the accounting office manager for KS Aviation, while
12
     John Yoon was still present and involved in the business. John Yoon took a leave of absence from
13
     June 2013 to February 2014 after suffering a motorcycle accident.
14
            4.      In 2013, my duties as the accounting office manager included tracking all accounts
15
     receivables and payables, payroll, all permits necessary to keep the flight school open and running,
16
     quarterly and payroll tax returns, and student progress records that we used to inform billing of airlines
17
     that sponsored students and the students themselves.
18
            5.      During my first stint at KS Aviation, I reported only to Dan Yoon. Dan Yoon
19
     represented to me and to other employees in my presence that he fully owned the company, stating
20
     that he was both CEO and CFO during weekly team meetings.
21
            6.      Dan Yoon created a chaotic work environment, refused to pay overtime, and was
22
     physically abusive to his employees. I knew within a few months after beginning my employment that
23
     I would leave KS Aviation after Dan Yoon became physically and verbally abusive to me, calling me
24
     stupid and slapping my hand when I showed him invoices from a vendor.
25
            7.      When I began working at KS Aviation, I had one assistant reporting to me. During the
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     course of my first stint, I gained two additional assistants. However, when I decided to leave KS
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     Aviation due to Dan Yoon’s poor treatment of his employees, two of those three assistants also left.
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   DECLARATION OF ROSA SALCIDO IN         1                      CASE NO. 19-42763
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 1   For this reason, I delayed my departure to September 27, 2013, so that I could interview a replacement
 2   for my position.
 3             8.    I returned to KS Aviation in March 2017 at John Yoon’s request. John Yoon indicated
 4   to me that Dan Yoon was no longer working for KS Aviation and made me a very nice offer to manage
 5   the company’s finance department.
 6             9.    KS Aviation uses Quickbooks for its accounting needs. I have reviewed the promissory
 7   notes attached to Dan Yoon’s complaint and these notes are not reflected in the current version of
 8   Quickbooks. These books reflect numerous suspicious expenses attributable to Dan Yoon, who
 9   exercised complete control over accounting during his time at KS Aviation. His actions make it
10   difficult to determine credits for payments KS Aviation already made on loans or the total funds owed
11   to him.
12             10.   From my time at KS Aviation and to the best of my knowledge, any loans to the
13   business have been deposited into the general corporate account, from which business and operational
14   expenses and costs are paid. Based on my knowledge and review of the books, none of the three
15   business loans from Bank of the West to KS Aviation were used to pay for the flight simulator. These
16   loans were not secured by the flight simulator unlike the other loans which were used to purchase the
17   flight simulator. At least two of these loans were granted after the flight simulator was purchased.
18             11.   KS Aviation was not profitable while I was employed there in 2013 or from 2017
19   onward. As I testified in my deposition, the company owed far more money than it could cover with
20   its revenue. A true and correct copy of excerpts of my deposition is attached hereto as Exhibit 1.
21             12.   KS Aviation requires roughly 150 students to enroll in its program to break even, but
22   has only 65 currently enrolled. The business has been hemorrhaging money since 2017. True and
23   correct copies of KS Aviation’s, d/b/a Sierra Academy of Aeronautics, 2017 and 2018 profit and loss
24   statements are attached hereto as Exhibit 2.
25             13.   In 2017, Xing Kong purchased KS Aviation. Xing Kong also remains unprofitable,
26   operating at a loss since 2019. True and correct copies of Xing Kong’s 2019, 2020, 2021, and 2022
27   profit and loss statements are attached hereto as Exhibit 3.
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   SUPPORT OF DEFENDANTS’ MOTION FOR                        ADV. PROC. NO.: 20-04021
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